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                   IN THE SUPERIOR COURT FOR THE STATE OF WASHINGTON
11                         IN AND FOR THE COUNTY OF SNOHOMISH
12
     HRISTO "CHRIS" GOCHEV, a married
13   individual, & KAISER ENTERPRISES,
     LLC,                                            No.
14

15                          Plaintiff                COMPLAINT    FOR     BREACH  OF
                                                     CONTRACT; INSRUANCE BAD FAITH'
16
                                                     CONSUMER       PROTECTION   ACT
17                                                   VIOLATION;      VIOLATIONS   OF
     FIRST AMERICAN PROPERTY &                       INSRUANCE FAIIt CONDUCT ACT
18   CASUALTY INSURANCE
19
     COMPANY,
                    Defendants.                      (Clerk's Action Required)
20

21
            COME NOWthe Plaintiff Hristo Goehev, also known as Chris Gochev, and Kaiser
22
     Enterprise, LLC, by and through his attorney, Ray Brooks, of Brooks Law Firm, and complains and
23
     alleges against the above-named Defendants as follows:
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25                         I.      PAI2TIES, JURISDICTION AND VENUE


     COMPLAINT FOR DAMAGES - 1                                               BROOKS LAW FIRM
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             1.1     Plaintiffs Hristo Gochev, was, at all times relevaiit and material to this Complaiiit, a
     resident of King County, Washington, as was also Kaiser Enterprises, LLC.
 2
             1.2     Defendant First American Property and Casualty Insurance Company is a foreign
 3   I insurer doing business in Washington State.

 4           1.3     At all times material hereto, Plaintiffs was insured by the Defendants through an
     insurance policy, specifically, under policy number WAPH 145937. Under the terms of these
 5
     policies Plaintiffs had coverage for theft losses under the policies.
 6
             1.4     Pursuant to Washington law, including RCW 43.30, et seq, Washington Courts have
 7
     authority to hear claims by an ulsured against its insurer for breach of an insurance contract and
 s   insurer bad faith.

 9           1.5     Jurisdiction exists over defendant First American Property and Casualty Insurance
     Company as it was doilig business in and conducts business in this County.
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                                             U. FACTS OF THE LOSS
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             2.1     Plaintiffs damages arise from a theft loss that occurred on or about January 12, 2021.
13     On or near that date, the plaintiff s suffered when a large windstorm caine up and blew over trees

14     from an adjoinilig lot. Plaintiffs reported the l6ss to the Defendant.
             2.2     Defendant then failed to timely adjust the loss, failed to adequately and promptly
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       investigate the loss, and unreasonable delayed payment. Defendant also demanded numerous
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       materials that it did not need to adjust the loss in order to increase plaiiitiff's cost and legal fees.
17
       T'he defendant also refused to help or adequately answer quests from plaintiff or his
ls     representatives, and insisted on conducting arl examination under oath in order to delay and drag

19     out payment. Defendant committed numerous other acts and acts of omission, and plaintiff
       reserved the right to present all to court, as such will show contact that is a violation of its duties to
20
       plaintiff. Plaintiff also reserves the right to claim any underpayment or non-payment as may be
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       born out by the later facts.
22

23                            III. FACTS ENTITILING PLAINTIFF TO RELIEF

24           3.1     The Plaintiff presented a claim under the policy that they have carried defendant.
             3.2     Allstate only processed part of the claims and only under one of the policies and
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     have failed to pay all that is owed under both policies.

     COMPLAINT FOR DAMAGES - 2                                                         B1200K.S LAW FIR1VI
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             3.3.    Defendant failed to promptly investigate said claims, as set out above, and as a
 1
     result the unreasonable delay caused loss to plaintiff.
 2
             3.4.    Defendant committed numerous otlier acts and failed to process the claims,
 3   misrepresented terms of the policy, and has not tilnely responded to requests for information, and
 4   many other acts of commission and omissions, whicli plaintiff reserves the right to preseiit as
     discovery may show at trial.
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                     IV.     FIRST CAUSE OF ACTION:ISREACH OF CONTRACT
 7
             4.1     Plaintiffs reallege paragraphs 1.1 through 3.5 as if fully set forth herein.
 8
             4.2     The Defendants had a contractual duty to its insured, Plaintiffs, under the policy
 9   to provide coverage for their damages up to the policy limit on each policy.
10
             4.3     The Defeiidants also had a duty to its insured, Plaintiffs, to act reasonably and
11   in good faith in the investigation and adjustment of their insurance claims, pursuant to the

12   terms of the insurance contract between the parties.

13           4.4     The Defendants breached its contract of insurance by failing in its obligations
     to Plaintiffs under its policy.
14

15
                                V.      SECONI) CAUSE OF ACTION:

16            VIOLATIONS OF THE WASHINGTON ADNIINISTRATIVE COI)E

17           5.1     Plaintiffs re-allege paragraphs 1.1 through 4.4 as if fully set forth herein.

18           5.2     The Defendants' acts and omissions constitute multiple violations of the

19   insurance regulatory provisions of the Washington Administrative Code ("WAC").

20           5.3     The Defendants breached the Washington Administrative Code in a number of

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     ways including, but not limited to, failing to reasoliably respond, investigate or acknowledge
     pertinent communications regardilig the clairn.
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                                 VI.     THIRI) CAUSE OF ACTION:


     COMPLAlNT FOR DAMAGES - 3                                                    BROOKS LAW FIRNI
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                             VIOLATIONS OF THE CONSUMER PROTECTION ACT
     T

                    6.1      Plaintiffs re-allege paragraphs 1.1 through 5.3 as if fully set forth herein.
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                    6.2          The Defendants' violations of the Washington Administrative Code and other
    3
             unreasonable actions, as alleged herein, harmed plaintiffs and constitute per se violations of
    4
             RCW 19.86 et seq., the Consumer Protection Act.
     5
                    6.3          The Defendants' bad faith conduct, as alleged herein, also constitutes violation
     6
             of RCW 19.86, et seq., the Consumer Protection Act.
    7


     8
                          Vll.      FOURTH CAUSE OF ACT10N: INSURANCE SAD FA1TH
     9
                    7.1          Plaintiffs re-allege paragraphs 1.1 through 6.3 as if fully set forth herein.
    lo
                     7.2         The Defendants had a duty to act in good faith in the investigation alid
    11
             adjustment of plaintiffs' insurance claims.
    12
                     7.3         The Defendants also had a duty to treat plaintiffs' interests equal with its own
    13
             during the investigation and adjustment of their insurance claims.
    14
                     7.4         The Defendants' acts and omissions, as described above, constitute a breach of
    15
             its duty of good faith in violation of Washington statutory and decisional law. Such bad faith
    16       is also a violation of the Washington Consumer Protection Act, RCW 19.86, et seq.

    17


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                   VIII. FIFTH CAUSE OF ACTION: VIOLATION OF INSURANCE FAIR
    19                                                   CONDUCT ACT

    20               8.1         Plaintiffs incorporate by reference the allegations contained in paragraph 1.1
    21       through 7.4 of this Complaint as if fully set forth herein.

    22               8.2         Plaintiffs are a first-party claimants to a policy of insurance.

    23               8.3         Plaintiffs suffered a loss under the policy.

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             COMPLAINT FOR DAMAGES - 4                                                        BROOKS LAW FIRiVI
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                 8.4     The Defendants violated the standards for acknowledgment of pertinent
 i
         communication in failing to provide a certified copy of Plaintiffs' insurance policy despite
 2
     I   repeated requests.
 3               8.5     The Defendants nusrepresented policy provisions.

 4               8.6     Over 20 days prior to filing suit, plaintiffs provided written notice of the basis
         for their IFCA cause of action to the Office of the Washington State hisurance Commissioner
 5
         and defendant, as required by RCW 48.30.0.15.
 6
                 8.7     The Defendants failed to respond to the IFCA complaints and otherwise failed
 7
         to resolve the basis for plaintiffs' IFCA action within the twenty day period specified by the
 8       statute after its receipt of written notice and otherwise failed to respond to the IFCA Complaint.

 9               8.8     The Defendants' unreasonable failure to resolve plaintiffs' claims in response
         to the aforementioned written notice, as required by RCW 48.30.015, constitutes a violation of
lo
         IFCA, RCW 48.30.015, et seq.
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                 8.9     As a result of the Defendants' IFCA violations, plaintiffs have sustained actual
12
         damages in an amount to be proven at the time of trial. In addition, plaintiffs have sustained
13       additional damages for their attorneys' fees and costs as a result of the wrongful and

14       unreasonable acts of defendant. Accordingly, plaintiffs are eiititled to recovery of these sums
         under RCW 48.30.015(1).
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                                     IX.     SIXTII CAUSE OF ACTION:
17
            VIOLATION OF INSUI2ANCE FAIR CONDUCT ACT: TI2EBLE DAMAGES.
18               9.1     Plaintiffs incorporate by reference the allegations contained in paragraph 1.1

19       through 8.9 of this Complaint as if fully set forth herein.
                 9.2     The Defendants breached the Washington Administrative Code in a number of
20
         ways, including, but not limited to, (1) failing to fully disclose all pertinent benefits, coverage
21
         or other provisions of the policy, (2) failing to reasonably respond, investigate, or acknowledge
22       pertinent cominunications regarding the claim, (3) misrepresenting policy provisions, and (4)
23       not paying what was owed under the policy. Accordingly, the Defendants have violated WAC

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         284-30-330, WAC 284-30-350, and WAC 284-30-360.

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         COMPLAINT FOR DAMAGES - 5                                                    BI200ICS LAW FdRiVI
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            9.3     Having acted unreasonably in withholding benefits from plaintiffs, and having
 1
     violated WAC 284-30-330, WAC 284-30-350, and WAC 284-30-360, plaintiffs are entitled to
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     treble damages under RCW 48.30.015.
3           9.4.    Prior to filing suit, plaintitfs served a notice under the Insurance Fair Conduct

 4   Act, and over 20 days have expired.

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                                           X.      DAIVIAGES
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            10.1    Plaintiffs incorporate by reference the allegations contained in paragraph 1.1
 7
     through 9.4 of this Complaint as if fully set forth herein.
 8          10.2    As a direct and proximate result of the foregoing described acts and conduct of

 9   the defendant, plaintiffs have suffered, and continue to suffer, special and general damages in
     an amount to be proven at trial.
10
            WHEREFORE, plaintiffs pray for the following relief against defendant Allstate
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     Insurance Company:
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            1.      Judgmelit against defendants for breach of contract;
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            2.      Judgment against defendants for violations of the Washington Administrative
14                  Code 284-30-330 et seq.;

15          3.      Judgment against defendants for violations of the Consuiner Protection Act,
                    RCW 19.86 et seq.;
16
            4.       Judgment against defendants for insurance bad faith;
17
            5.      Judgment against defendants for violation of the Insurance Fair Conduct Act,
ls
                     RCW 48.30.015 et seq.;
19          6.       Judgment against defendants in an amount to fairly compensate plailitiffs for

20                  their special and general damages;
            7.      An award of compensatory and exemplary damages pursuaiit to RCW 19.86, et
21
                    seq. ;
22
            8.      An award of plaintiffs' actual datnages sustained, including reasonable
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                    attoineys' fees and litigation costs pursuant to RCW 48.30.015(1);
24          9.      An award of treble damages for defendants' unreasonable denial of payment of

25                  benefits pursuant to RCW 48.30.015(2);


     COMPLAINT FOR DAMAGES - 6                                                  BR®®xS LAw Fpltivl
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          10.    Judgment against defendants for plaintiffs' reasonable attorneys' fees, actual
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                 and statutoiy litigation costs, including expert witness fees, as allowed by law,
2
                 including, but not limited to, RCW 19.86, et seq., RCW 48.30.015 et seq., and
3                Olynapic Steamslaip v. Centenniallns. Co., 117 Wn.2d 37,811 P.2d 673 (1991).

4         11.    For such other and further relief as the Court deems just and equitable.

5         Dated this January 7; 2022.
                                                BROOKS LAW FIRM
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                                                By
 9
                                                Ray C. Brooks, WSBA No. 37768
10                                              Attorney for Plaintiffs

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     I COMPLAINT FOR DAMAGES - 7                                              SROOKS LAW FIRM
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